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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON

UNITED STATES OF AMERICA

v.                                               CRIMINAL NO. 2:21-cr-00127

RAYMOND DUGAN


                                   PROTECTIVE ORDER

          This matter, having come to the Court’s attention on the

Stipulation for Entry of a Discovery Protective Order submitted by

the United States of America, and the Court, having considered the

motion, and being fully advised in this matter, hereby enters the

following PROTECTIVE ORDER:

     1.     This Protective Order governs all discovery material in

            any    format     (written   or     electronic),             and     information

            contained therein, that is produced by the government in

            discovery in the above captioned case.

     2.     The United States will make available copies of discovery

            materials, including those filed under seal, to defense

            counsel     to    comply     with        the    government’s           discovery

            obligations.       Possession       of     copies       of     the     discovery

            materials    is    limited   to     the    attorneys         of    record,   and

            investigators,         paralegals,        law        clerks,       experts   and

            assistants       for   the   attorneys          of    record       (hereinafter

            collectively referred to as members of the defense team).
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3.   The attorneys of record and members of the defense team

     may display and review the discovery materials with the

     Defendant. The attorneys of record and members of the

     defense team acknowledge that providing copies of the

     discovery materials to the Defendant and other persons is

     prohibited, and agree not to duplicate or provide copies

     of discovery materials to the Defendant and other persons.

4.   Nothing in this order should be construed as imposing any

     discovery obligations on the government or the defendant

     that are different from those imposed by case law and/or

     Rule 16 of the Federal Rules of Criminal Procedure.

5.   Any discovery material, or information contained therein,

     that is filed with the Court in connection with pre-trial

     motions, trial, sentencing, or other matter before this

     Court, shall be filed under seal and shall remain sealed

     until   otherwise     ordered   by    this   Court.   This   does   not

     entitle either party to seal their filings as a matter of

     course.    The parties are required to comply in all respects

     to   the   relevant    local    and   federal   rules   of   criminal

     procedure pertaining to the sealing of court documents.

6.   The provisions of this Order shall not terminate at the

     conclusion of this prosecution.

7.   Any violation of any term or condition of this Order by

     the Defendant, the Defendant’s attorney(s) of record, any
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       member of the defense team, or any attorney for the United

       States Attorney’s Office for the Southern District of West

       Virginia, may be held in contempt of court, and/or may be

       subject     to   monetary    or    other    sanctions    as    deemed

       appropriate by this Court.

  8.   Any discovery materials provided pursuant to this Order

       shall be returned to the United States Attorney’s Office,

       including all copies, within ten days of the completion of

       the case before the Court or, if an appeal is taken, within

       ten days of the completion of the case in the United States

       Court of Appeals for the Fourth Circuit or Supreme Court

       of the United States.

  9.   If the Defendant violates any term or condition of this

       Order, the United States reserves its right to seek a

       sentencing enhancement for obstruction of justice, or to

       file any criminal charges relating to the Defendant’s

       violation.



DATED this ____ day of August 2021.




                            _____________________________________
                            JOSEPH R. GOODWIN
                            UNITED STATES DISTRICT COURT JUDGE
